          Case 2:17-cv-03051-GMN-EJY Document 13 Filed 04/29/19 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEVADA


 ELOISE HERRON,
                 Plaintiff(s),                          2:17−cv−03051−GMN−GWF

 vs.
  BUDGET RENT A CAR SYSTEM, INC., et
al.,                                                    April 29, 2019
                Defendant(s).


       NOTICE REGARDING INTENT TO DISMISS FOR WANT OF PROSECUTION
                      PURSUANT TO LOCAL RULE 41−1
To: Eloise Herron
Local Rule 41-1 provides as follows:
       "All civil actions that have been pending in this court for more than 270 days
       without any proceeding of record having been taken may, after notice, be dismissed
       for want of prosecution by the court sua sponte or on the motion of an attorney or
       pro se party."
      Be advised the official record in this action reflects that this case has been pending for
more than 270 days without any proceeding having been taken during such period.
      If no action is taken in this case by 05/29/2019, the court shall enter an order of dismissal
for want of prosecution.
                                           DEBRA K. KEMPI, CLERK


                                           By: /s/ Deborah Johnson
                                                  Deputy Clerk
